Case 14-10979-CSS   Doc 2389-11   Filed 10/10/14   Page 1 of 62




                    EXHIBIT 10
         Case 14-10979-CSS    Doc 2389-11         Filed 10/10/14   Page 2 of 62


                                                                                  Page 1
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   UNITED STATES BANKRUPTCY COURT
 3   FOR THE DISTRICT OF DELAWARE
     -----------------------------------------x
 4   In Re:
     Energy Future Holdings Corporation, et.,
 5

                             Debtors.
 6

     Chapter 11
 7   Case No. 14-10979
     Jointly Administered
 8

 9   -----------------------------------------x
10                * * *CONFIDENTIAL* * *
11            DEPOSITION OF WILLIAM O. HILTZ
12                   New York, New York
13                    October 6, 2014
14

15

16

17

18

19

20

21

22

23   Reported by:
24   KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25   JOB NO. 85363

                      TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS   Doc 2389-11          Filed 10/10/14   Page 3 of 62


                                                                                  Page 15
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   assessing those recoveries?
 3       A.     This is, you know, 25 years ago.                          I
 4   don't recall exactly.          I mean, I worked on the
 5   Eastern case and was testifying as to what I
 6   thought the potential recoveries to the
 7   unsecured creditors would be.
 8       Q.     How long ago was your testimony in the
 9   tax court?
10       A.     30-some-odd years ago.
11       Q.     And what was the topic of your
12   testimony in the Continental case?
13       A.     I don't recall, but I believe it was
14   regarding the sale of Continental to David
15   Bonderman, Air -- which is now at TPG, then the
16   predecessor to TPG, Air Partners, and Air
17   Canada.
18       Q.     And when was that testimony?
19       A.     Would have been 1993.
20       Q.     Since 1993, have you testified in any
21   court?
22       A.     No.
23       Q.     Have you ever testified in deposition
24   before today?
25       A.     Many times.

                      TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS    Doc 2389-11          Filed 10/10/14   Page 4 of 62


                                                                                   Page 18
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   under number 6, which is transactions that I
 3   have worked on; and I may have made some other
 4   small language changes, but that's about it.
 5       Q.     But the substance came from Kirkland &
 6   Ellis?
 7       A.     Well, the substance came --
 8              MS. O'CONNOR:            Object to form.
 9       A.     The substance came from me and was
10   written up by Kirkland & Ellis.
11       Q.     And when you say the substance came
12   from you, did you have conversations with
13   Kirkland & Ellis regarding the content of the
14   declaration before it was drafted?
15       A.     Yes.
16       Q.     The declaration was true and accurate
17   when you signed it?
18       A.     Yes.
19       Q.     Mr. Hiltz, when did you first become
20   involved in this matter?
21       A.     Oh, I don't recall the exact date, but
22   I would say it was the third -- third week of
23   August.
24       Q.     And prior to the third week in August,
25   had you been involved in this matter at all?

                       TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS   Doc 2389-11          Filed 10/10/14   Page 5 of 62


                                                                                  Page 37
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   on behalf of the Debtors with certain topics for
 3   which you have knowledge, you are here to
 4   testify in your personal capacity pursuant to
 5   this deposition notice, correct?
 6       A.     This is the first time I've seen this
 7   deposition notice.
 8       Q.     Are you aware that you are testifying
 9   here in your personal capacity in addition to as
10   a 30(b)(6) witness?
11       A.     No.
12       Q.     Do you have any concern testifying
13   today in your personal capacity?
14       A.     No.
15       Q.     Mr. Hiltz, your expertise is in the
16   M&A sphere; is that accurate?
17       A.     That's correct.
18       Q.     And your expertise is more in the M&A
19   field than in restructurings?
20       A.     That's correct.
21       Q.     And within your M&A experience, the
22   vast bulk of that experience is outside the
23   power asset and utility sectors?
24       A.     The bulk of it is, yes.
25       Q.     What experience do you have in M&A in

                      TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS   Doc 2389-11          Filed 10/10/14   Page 6 of 62


                                                                                  Page 39
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.      Advise the board.
 3       Q.      Of the seller or the buyer?
 4       A.      Of the seller.
 5       Q.      And I take it that was not in a
 6   bankruptcy situation?
 7       A.      No, it was not.
 8       Q.      So you have no experience in the power
 9   asset or utility sector in bankruptcy?
10       A.      That's correct.
11       Q.      Mr. Hiltz, Mr. Keglevic testified on
12   Friday that most of the M&A that you have done
13   is not in our sector, meaning --
14       A.      That's correct.
15       Q.      -- business, but that Mr. Ying did
16   have that experience?
17       A.      I think that --
18               MS. O'CONNOR:          Object to form.
19       A.      I think that would more accurately be
20   Sesh.
21       Q.      Does Mr. Ying have experience in the
22   power asset and utility sectors that you are
23   aware of?
24       A.      I believe he does.
25       Q.      Fair to say that he has more

                      TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS    Doc 2389-11          Filed 10/10/14   Page 7 of 62


                                                                                   Page 48
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   believe is an efficient structure.                       I'm not sure
 3   it's the optimal structure.                   Someone may come up
 4   with a structure that's better than ours.
 5       Q.     Now, the efficient structure that you
 6   refer to contemplates a transaction through
 7   post-reorganized EFH equity?
 8       A.     Yes.
 9       Q.     Now, you understand that there are
10   creditors at the EFH level, correct?
11       A.     Correct.
12       Q.     And creditors at the EFIH level,
13   correct?
14       A.     Correct.
15       Q.     And you understand that the creditors
16   at the EFH level are structurally junior to the
17   creditors at the EFIH level, correct?
18       A.     Yes.
19       Q.     So you're -- am I correct in
20   understanding that your efficient transaction
21   structure, as you referred to it, contemplates
22   paying creditors at the EFIH level in full?
23       A.     Yes.
24       Q.     Mr. Hiltz, back to the sale process
25   that we were discussing before earlier, when did

                       TSG Reporting - Worldwide    877-702-9580
            Case 14-10979-CSS   Doc 2389-11          Filed 10/10/14   Page 8 of 62


                                                                                     Page 49
 1              CONFIDENTIAL - WILLIAM O. HILTZ
 2   Bank of America Merrill Lynch become involved in
 3   the sale process?
 4       A.        Bank of America Merrill Lynch was
 5   involved at the time that I became involved.
 6   I'm not sure exactly when they became involved.
 7       Q.        Do you know if they became involved
 8   before or after you?
 9       A.        I just said they were involved when I
10   became involved, so that, by definition, means
11   they were involved before.
12       Q.        To your knowledge, who approached Bank
13   of America Merrill Lynch?
14       A.        I don't know the answer to that.
15       Q.        Do you have any understanding of why
16   Bank of America Merrill Lynch was brought in?
17       A.        My understanding was that the company
18   felt that two sets of eyes might be better than
19   one.
20       Q.        Do you have any understanding why Bank
21   of America Merrill Lynch did not become engaged?
22       A.        I believe it was felt that they had a
23   conflict because of their participation in one
24   of the DIP facilities.
25       Q.        And that conflict was not identified

                         TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS   Doc 2389-11          Filed 10/10/14   Page 9 of 62


                                                                                  Page 68
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     Do you know if anyone at Evercore has
 3   a log of those phone calls?
 4       A.     Not that I'm aware of.
 5       Q.     But it is your understanding that
 6   every prospective bidder was informed of that?
 7       A.     That's my understanding.
 8       Q.     Mr. Hiltz, going back to the now -- to
 9   the 12 original NDAs that were signed as of the
10   date of your declaration, the prospective
11   bidders that entered into those 12 NDAs all
12   received teaser materials prior to signing the
13   NDA; is that correct?
14       A.     I believe so.
15              (Hiltz Exhibit 9, an e-mail chain with
16       attachment bearing Bates Nos.
17       EFH-EVR909999913 through 25, marked for
18       identification, as of this date.)
19   BY MR. DEVORE:
20       Q.     Mr. Hiltz, I have handed you what has
21   been marked as Exhibit 9, which again is an
22   e-mail from Sesh, this time dated July 25 to a
23   prospective bidder attaching teaser materials;
24   is that correct?
25       A.     Correct.

                      TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 10 of 62


                                                                                  Page 69
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     Is this the version of teasers that
 3   went out to prospective bidders in July?
 4       A.     I believe it is.
 5       Q.     And this is -- are you aware of the
 6   next version of a teaser?
 7       A.     Yes, I am.
 8       Q.     And what is the date of that?
 9       A.     I don't recall the date.
10       Q.     August?
11       A.     Might be early September.
12       Q.     Now, if we turn to page 1 of the
13   presentation, which is a few slides back with
14   the Bates number ending in 018, are you on that
15   page?
16       A.     Uh-huh.
17       Q.     Now, turning your attention to the
18   third bullet point, it states that, "The company
19   is pursuing a restructuring transaction, the TCH
20   spinoff, whereby, on the emergence date, TCH
21   will separate from EFH on a tax-free basis and
22   reorganized EFH would continue to own 100
23   percent of EFH and its 80 percent interest in
24   Oncor."   Do you see that?
25       A.     Yes.

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 11 of 62


                                                                                  Page 82
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     Do you know who at the Debtors made
 3   the decision to accept bids in any form?
 4       A.     I would assume it was Paul and Stacey.
 5       Q.     Do you know if any of the boards of
 6   EFH, EFIH or TCEH voted on that change?
 7       A.     I don't recall.
 8       Q.     Do you know if the boards were
 9   informed or consulted on the change to accept
10   bids in any form?
11       A.     I believe so, but I'm not sure.
12       Q.     What is the basis for that belief?
13       A.     I believe we reviewed -- I believe the
14   board reviewed the bidding procedures motion
15   prior to its filing.
16       Q.     Are you aware of any vote with respect
17   to the filing of the bidding procedures?
18       A.     No.    No.
19              (Hiltz Exhibit 12, an e-mail chain
20       bearing Bates Nos. EFH-EVR090000362 through
21       363, marked for identification, as of this
22       date.)
23   BY MR. DEVORE:
24       Q.     Mr. Hiltz, this is an e-mail from Sesh
25   dated September 12, 2014, to a prospective

                       TSG Reporting - Worldwide   877-702-9580
           Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 12 of 62


                                                                                    Page 84
 1              CONFIDENTIAL - WILLIAM O. HILTZ
 2         A.     I believe it was made before September
 3   12.
 4         Q.     And why do you believe that?
 5         A.     Because what was the date that we
 6   filed the bidding procedures motion?
 7         Q.     It's dated on September 19.
 8         A.     Well, it may not have been before the
 9   12th then.      Obviously, it was before we filed
10   the bidding procedures motion and it was at
11   least several days, if not a week, before that.
12   I don't recall the exact date.
13         Q.     Mr. Hiltz, as of September 12, are you
14   aware of the Debtors or Evercore indicating to a
15   single prospective bidder that the Debtors would
16   accept bids for a taxable transaction?
17         A.     Not specifically.
18         Q.     Do you have any reason to believe
19   that, prior to September 12, a single bidder was
20   informed that the Debtors would be accepting
21   bids for a taxable transaction?
22         A.     Again, I can't recall the exact date
23   that we started telling people that we would
24   accept bids for a taxable transaction.
25         Q.     Do you consider the change from

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 13 of 62


                                                                                  Page 87
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2              (Hiltz Exhibit 13, an e-mail chain
 3       bearing Bates Nos. EFH-EVR090000047 through
 4       48, marked for identification, as of this
 5       date.)
 6   BY MR. DEVORE:
 7       Q.     Mr. Hiltz, you have been handed what
 8   has been marked as Exhibit 13.                   Do you see that?
 9       A.     Yes.
10       Q.     And the second e-mail down is an
11   e-mail dated September 10 from Bo Yi?
12       A.     Yes.
13       Q.     And it states, "We haven't sent out an
14   updated teaser or other marketing materials to
15   any parties yet"?
16       A.     Yes.
17       Q.     Do you see that?
18              Does this indicate that no updated
19   teasers had gone out as of September 10?
20       A.     Yes.
21       Q.     So, to the best of your knowledge, the
22   teaser was not changed to provide for bids in
23   any form as of September 10, correct?
24       A.     Correct.
25       Q.     Now, when were the 12 prospective

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 14 of 62


                                                                                  Page 88
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   bidders that signed NDAs as of the date of your
 3   declaration informed of the change from inviting
 4   bids for only non-taxable structures to inviting
 5   bids for transactions in any form?
 6       A.      I'm not sure.
 7       Q.      Was it prior to September 19, the
 8   filing of the motion?
 9       A.      I believe so, but I can't state for
10   certain.
11       Q.      What's the basis for the belief?
12       A.      Well, we called people to tell them
13   that we were going to change the process, and I
14   can't recall if as part of those telephone
15   conversations they were alerted to the fact that
16   we would also accept taxable bids as well as
17   non-taxable bids.
18       Q.      And would that information be kept in
19   a call log?
20       A.      Not necessarily, no.
21       Q.      Would you expect that it may be in a
22   call log?
23       A.      I wouldn't think it would be.
24       Q.      And why not?
25       A.      Well, because the call log isn't

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 15 of 62


                                                                                  Page 89
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   specific with respect to the content of the
 3   conversation.
 4              Again, we attempted to call everyone
 5   once we had made a decision to change the
 6   process, so I believe those calls started
 7   perhaps late the week before Labor Day or early
 8   the week following Labor Day.                  I can't recall if
 9   those calls merely stated that we were giving
10   people more time and were going to a two-stage
11   process or whether it also referenced a
12   willingness to accept taxable bids.
13       Q.     So, sitting here today, you have no
14   knowledge of a communication, prior to September
15   19, a specific knowledge of a specific
16   communication informing prospective bidders that
17   the Debtors would accept bids in any form?
18       A.     That's correct.
19              (Hiltz Exhibit 14, an e-mail with
20       attachment bearing Bates Nos.
21       EFH-EVR090001062 through 1167, marked for
22       identification, as of this date.)
23   BY MR. DEVORE:
24       Q.     Mr. Hiltz, I have handed you what has
25   been marked as Exhibit 14, which is an e-mail

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 16 of 62


                                                                                  Page 93
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2              Number two, there have been a series
 3   of telephone conversations with a number of the
 4   bidders, a couple of which I have participated
 5   in, that have occurred over the course of the
 6   last ten days to make it explicit to those
 7   parties that we're prepared to consider other
 8   transactions.
 9              It was in the context of those calls
10   that people have expressed surprise that we
11   would consider a taxable transaction because
12   it's not viewed as being an efficient way of
13   creating value.
14       Q.     Is there a reason Evercore didn't call
15   out in the cover e-mail that the transaction
16   process had changed?
17       A.     Well, it's quite evident in the
18   bidding procedures that -- no particular reason
19   to call that out as well as anything else.
20       Q.     You didn't consider it an important
21   change that prospective investors would want to
22   be informed about?
23       A.     There are a whole lot of changes to
24   the process that are important.                    We're not
25   calling out in the cover letter that you have

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 17 of 62


                                                                                   Page 245
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   third Continental bankruptcy to David Bonderman
 3   and Air Partners and Air Canada.
 4       Q.     All right.          Have you ever -- did you
 5   run that bankruptcy auction?
 6       A.     Yes.
 7       Q.     Have you ever advised a bidder in a
 8   bankruptcy auction?
 9       A.     No.
10       Q.     Have you ever advised a creditor in a
11   bankruptcy auction?
12       A.     No.
13       Q.     Have you ever read a book or article
14   on bankruptcy auctions?
15       A.     No.
16       Q.     Okay.      Do you understand that in
17   certain times experts will read in the area of
18   their expertise?
19       A.     Yes.     Again, I'm not here as a
20   bankruptcy expert.          I'm here as a general merger
21   and acquisition expert.
22       Q.     Did you ever advise any entity with
23   respect to the purchase or sale of post-reorg.
24   equity?
25       A.     No.

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 18 of 62


                                                                                  Page 246
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     All right.         Have you ever read any
 3   case law on bankruptcy auctions or
 4   post-reorganization equity?
 5       A.     No.
 6       Q.     You're going to have to let me finish
 7   my question and then you can say no.
 8              Do you understand that there are
 9   differences between a bankruptcy auction and a
10   general M&A marketing process?
11       A.     Yes, I do.
12       Q.     So, for example, a bankruptcy auction
13   has court supervision?
14       A.     And has -- generally, has this open
15   auction concept at the end of the process.
16       Q.     What other differences do you know
17   about?
18       A.     Those would be the primary ones.
19       Q.     Are you aware that bidders, for
20   example, have potential criminal penalties if
21   they collude in the bankruptcy auction?
22       A.     No, I'm not.
23       Q.     Are you aware that Bankruptcy Court
24   can provide a free and clear order with respect
25   to a sale that you couldn't get outside of

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 19 of 62


                                                                                   Page 248
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   concerns are of a Debtor in an auction that
 3   don't exist with respect to an out-of-court M&A
 4   process?
 5       A.     Well, I mean, in my view, it's how
 6   that process fits into the overall plan of
 7   reorganization.
 8       Q.     And this is based upon your one
 9   auction that you participated in?
10       A.     Correct.
11       Q.     Okay.      And do you understand what the
12   particular concerns are of a bidder in a
13   bankruptcy process that don't exist in the
14   normal M&A process?
15       A.     Only with respect to the execution
16   risk associated with a bankruptcy.
17       Q.     Okay.      But you don't know any other
18   concerns because you have never represented a
19   bidder in an auction process --
20       A.     Correct.
21       Q.     -- bankruptcy auction process?
22       A.     Correct.
23       Q.     Do you have any understanding of what
24   the general concerns are of creditors in a
25   bankruptcy when a Debtors' assets are being sold

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 20 of 62


                                                                                   Page 249
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   pursuant to an auction?
 3      A.      I think I have a layman's
 4   understanding of that.
 5      Q.      What's that?
 6      A.      Concern that you're getting the best
 7   possible price for the asset.
 8      Q.      And are you aware of any other
 9   concerns that exist?
10      A.      No.
11      Q.      Do you have any understanding of the
12   specific concerns about post reorganization --
13   or, the sale of post-reorganization equity
14   before a plan is filed?
15      A.      I'm sorry.          State the question again.
16      Q.      Sure.      Are you aware of any specific
17   concerns that exist with respect either from the
18   Debtors side, creditors side, bidders side when
19   you are selling post-reorganization equity
20   before a plan is on file?
21      A.      Well, only to the extent that the
22   buyer obviously needs to know what liabilities
23   and assets he is purchasing.                   So, to the extent
24   that that's going to be driven by the plan of
25   reorganization, there are issues surrounding

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 21 of 62


                                                                                   Page 250
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   that.
 3       Q.     All right.          Are you aware of any
 4   instance in which anybody's ever marketed and
 5   sold post-reorganization equity before a plan
 6   has been put on file?
 7       A.     Not personally, no.
 8       Q.     Did you ever ask anybody whether it's
 9   ever been done?
10       A.     No.
11       Q.     Just to get a sense of your due
12   diligence, can you identify the sponsors of EFH?
13       A.     TPG.     I can't recall who else.
14       Q.     Okay.      Did you ask to meet with any of
15   the sponsors as part of your process of --
16       A.     No, the only --
17       Q.     You got to let me finish my question.
18              As part of your process of forming
19   opinions about whether or not to sell the
20   post-reorg. equity at this time, did you ask to
21   meet with any sponsor?
22       A.     No.
23       Q.     Okay.      Can you identify --
24       A.     Other than the members of the sponsors
25   who were on the board of directors, and I've met

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14      Page 22 of 62


                                                                                   Page 251
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   with them only in the context of board meetings.
 3       Q.     And who are those people?
 4       A.     The two guys from TPG, David
 5   Bonderman, and the name of the other one is
 6   escaping me at the moment.
 7       Q.     Can you identify the CEO, CFO, COO or
 8   treasurer of Oncor?
 9       A.     The CFO is Paul Keglevic.                         The
10   treasurer is Tony Horton.               The general counsel
11   is Stacey Doré.      I have not met with CEO.
12       Q.     And that's your view of the senior
13   management of Oncor?
14       A.     Oh, I'm sorry.             Of Oncor.              I'm sorry,
15   I misspoke.    EFH.      No, I have not met any of
16   those individuals at Oncor.
17       Q.     Did you ask to meet with any of them?
18       A.     No.
19       Q.     Do you have any doubt that as the
20   investment banker for the entity which holds an
21   80 percent stake in Oncor, that if you had asked
22   to meet with any of those people, you would have
23   been given an audience with them?
24       A.     That's probably correct.
25       Q.     All right.         Do you know who the CEO,

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 23 of 62


                                                                                  Page 252
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   CFO, COO, or treasurer is of Luminant?
 3       A.     No, I don't.
 4       Q.     TXU Energy?
 5       A.     No, I don't.
 6       Q.     Did you ask to meet with any of those
 7   people?
 8       A.     No.
 9       Q.     Do you know the identity of any
10   employee of EFIH?
11       A.     No.
12       Q.     Did you ask to meet with any employees
13   of EFIH?
14       A.     No.
15       Q.     Do you know the identity of
16   employees -- any employee of Oncor?
17       A.     No.
18       Q.     Did you ask to meet with any of them?
19       A.     No.
20       Q.     You talked about the EFH board.                         Have
21   you met with any board member of Oncor?
22       A.     No.
23       Q.     Do you know who's on the board of
24   Oncor?
25       A.     No.

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 24 of 62


                                                                                   Page 253
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     Did you meet with anybody on the board
 3   of EFIH?
 4       A.     The representative of EFIH that's on
 5   the EFH board.
 6       Q.     Okay.      Anybody else?
 7       A.     No.
 8       Q.     Do you know who's on the board of EFIH
 9   besides that representative?
10       A.     No.
11       Q.     Did you meet with anybody on the board
12   of TCEH?
13       A.     No.
14              MS. O'CONNOR:             Objection.
15              Sorry.       Go ahead.
16       Q.     Did you meet with anybody from any of
17   the operating companies?
18       A.     No.
19       Q.     Did you ask to meet with anybody from
20   any of the operating companies --
21       A.     No.
22       Q.     -- of EFH?
23       A.     No.
24       Q.     For exactness, we keep talking about
25   the Oncor stake, do you know which entity owns

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 25 of 62


                                                                                   Page 254
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   the 80 percent interest in Oncor?
 3       A.     Oncor Holdings.
 4       Q.     Okay.      And do you know how Oncor
 5   Holdings relates to EFIH?
 6       A.     I'm not sure I understand what you
 7   mean by that.
 8       Q.     Do you know who owns Oncor Holdings?
 9       A.     Yes.
10       Q.     Who?
11       A.     EFIH owns 80 percent of Oncor Holdings
12   and the other 20 percent is owned by the two
13   infrastructure funds.
14       Q.     So it's your understanding that a
15   Debtor EFIH owns an 80 percent stake in Oncor?
16       A.     Yes.
17       Q.     All right.          So I'm going to go through
18   some of these questions quickly because Mr.
19   Weisfelner got some of them.                   But is it your
20   understanding that Oncor is only regulated by
21   the Texas PUC, but do you understand they have
22   other regulators?
23       A.     I don't recall.
24       Q.     Do you know whether Oncor has any open
25   rate proceedings?

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 26 of 62


                                                                                  Page 255
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.      Don't recall.
 3       Q.      Do you know what a rate proceeding is?
 4       A.      Yes, I do.
 5       Q.      What's your understanding of what a
 6   rate proceeding is?
 7       A.      A rate proceeding is a proceeding
 8   where the company is applying for new rates or
 9   where the PUC has opened a proceeding to try to
10   reduce their rates.
11       Q.      So I take it did you ask whether Oncor
12   has any open rate proceedings?
13       A.      I did not, no.
14       Q.      Did you ask anybody to ask?
15       A.      Not since I've become involved in the
16   case, no.
17       Q.      Do you have an understanding as to the
18   size of Oncor's rate base?
19       A.      I know I've read it, but I can't
20   recall it at the moment.
21       Q.      Do you know what a rate base is?
22       A.      Yes, I do.
23       Q.      What's that?
24       A.      It's the property, plant, and
25   equipment base against which the return on

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14      Page 27 of 62


                                                                                    Page 257
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2              MS. O'CONNOR:             Take your time on
 3       either side.
 4       Q.     Do you know what the difference is
 5   between a transmission mile and a distribution?
 6       A.     No.
 7       Q.     Do you know what a gigawatt hour is?
 8       A.     Not exactly.
 9       Q.     Do you know what the billed volume is
10   of Oncor's of gigawatt hours?
11       A.     No, I don't.
12       Q.     Do you know what billed value is?
13       A.     No.
14       Q.     Okay.      Do you know what the LTM
15   revenues are for Oncor?
16       A.     About $5 billion.                   A little over $5
17   billion.
18       Q.     And do you know how that -- how that
19   has progressed, either up or down, over the last
20   five years?
21       A.     Yes, it's been up at a modest rate.
22       Q.     Okay.      And do you know what the
23   five-year projections are?
24       A.     I've reviewed them, yes.
25       Q.     And what do you understand them to

                        TSG Reporting - Worldwide    877-702-9580
           Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 28 of 62


                                                                                     Page 260
 1              CONFIDENTIAL - WILLIAM O. HILTZ
 2   producers are or can you name any of the five
 3   biggest power producers in Texas other than EFH?
 4         A.     Power producers?
 5         Q.     Uh-huh.
 6         A.     I would suspect Dynegy.                      I'm not sure
 7   who else.
 8         Q.     Other than suspecting, can you tell
 9   me?
10         A.     No.
11         Q.     Okay.      Do you know who the five
12   biggest end-users are in Texas?
13         A.     No.
14         Q.     Do you know who the five biggest
15   transmission utilities are in Texas other
16   than --
17         A.     No.
18         Q.     -- Oncor?
19                All right.          When was the first time
20   you heard of Oncor?
21         A.     When I got involved in this process.
22         Q.     Have you done any diligence into the
23   Oncor ringfence measures?
24         A.     I understand what they are.
25         Q.     What do you understand them to be?

                          TSG Reporting - Worldwide   877-702-9580
            Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 29 of 62


                                                                                     Page 261
 1               CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.        Well, Oncor has been ringfenced with
 3   respect to both its credit rating and its
 4   governance.       So it has a separate board of
 5   directors.       It obviously is not a party to the
 6   bankruptcy, and that arrangement is intended to
 7   stay in place.
 8       Q.        What do you understand about the
 9   dividend restrictions that Oncor is under?
10       A.        I don't recall.
11       Q.        Did you review the Oncor tax sharing
12   agreement?
13       A.        No.
14       Q.        Did you ask anybody to review that for
15   you?
16       A.        Only reviewed it to the extent that it
17   was discussed in the tax memo.
18       Q.        I don't understand.                 Did you ask
19   somebody to review it for you?
20       A.        No.
21       Q.        Have you done any investigation
22   specifically into bidders, into determining what
23   their M&A appetite is at this time?
24       A.        Well, Sesh has done quite a bit of
25   that work.

                          TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14      Page 30 of 62


                                                                                    Page 262
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     Have you done any of that work
 3   personally?
 4       A.     No.
 5       Q.     So do you have any basis to testify
 6   about any particular bidders' appetite to do the
 7   transaction now versus 8 months ago versus 18
 8   months from now?
 9       A.     I can testify with respect to two
10   bidders in that regard.
11       Q.     Okay.      And what about the others?
12       A.     No.
13              MR. SHORE:          All right.              All right.
14       That's a good breaking spot.                       I know we got
15       to change the tape.              But why don't we just
16       stay in situ, or do you want to take a short
17       break?
18              MS. O'CONNOR:             If you don't mind, take
19       five minutes.
20              THE VIDEOGRAPHER:                   It's 3:25 p.m.           We
21       are coming off the record.
22              (Recess.)
23              THE VIDEOGRAPHER:                   The time is 4:28
24       p.m.   We are going back on the record.
25   BY MR. SHORE:

                        TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 31 of 62


                                                                                   Page 263
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     All right.          Sorry about that, Mr.
 3   Hiltz.   Could you pull out Exhibit 2, please,
 4   which is your declaration?
 5       A.     Yes.
 6       Q.     All right.          Who drafted this document?
 7       A.     Kirkland & Ellis.
 8       Q.     Okay.      And I take it that you were
 9   given an opportunity to provide comments?
10       A.     Yes.
11       Q.     And do you recall making comments?
12       A.     Yes.
13       Q.     And what do you recall commenting?
14       A.     I think I answered this question
15   earlier in the deposition.
16       Q.     You just got to answer my questions.
17       A.     I added some correct information about
18   Evercore, I added some information about my
19   personal background and transactions that I have
20   worked on, and I made some other modest language
21   changes.
22       Q.     Okay.      So if I could draw your
23   attention to page 4 of your declaration.
24       A.     Uh-huh.
25       Q.     Do you recall making any changes to

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 32 of 62


                                                                                   Page 264
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   paragraph 10?
 3       A.     No.
 4       Q.     Okay.      And it says in the second
 5   sentence, "I understand that, in a typical
 6   Chapter 11 sale..."
 7              What was the basis of your
 8   understanding?
 9       A.     Discussions with both my restructuring
10   people and with Kirkland & Ellis.
11       Q.     Okay.      And when were those discussions
12   relative to your declaration?
13       A.     I mean, obviously, sometime prior to
14   my declaration, but I can't recall exactly the
15   date.
16       Q.     Okay.      Just so I understand the
17   timeline, you came in around the third week of
18   August.   You filed this declaration a month
19   later.
20              Were those discussions about what
21   happens typically in a sale between the time you
22   started and the time you filed your declaration?
23       A.     Yes.
24       Q.     Okay.      And prior to those discussions,
25   did you have any understanding about a typical

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 33 of 62


                                                                                   Page 265
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   Chapter 11 sale?
 3       A.     With respect to a stalking horse
 4   process?
 5       Q.     Yes.
 6       A.     No.
 7       Q.     All right.          Now, paragraph 11, do you
 8   recall making any changes to that paragraph?
 9       A.     Not that I recall, but it's possible.
10       Q.     All right.          And it says in the second
11   sentence, it makes a reference to market
12   conditions?
13       A.     Yes.
14       Q.     What market?
15       A.     The market for the sale of companies
16   generally and, specifically, Oncor.
17       Q.     Okay.      Generally companies.                    U.S.
18   companies?    Foreign companies?
19       A.     U.S. companies.
20       Q.     Okay.      So the market is for U.S.
21   companies.    Large cap?           Small cap?
22       A.     All.
23       Q.     All.     Any -- any company in the United
24   States, the market is favorable for a potential
25   sale?

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 34 of 62


                                                                                   Page 266
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     No, you can't make a statement that
 3   that would be true for any company.
 4       Q.     Okay.
 5       A.     I'm saying generally market conditions
 6   are favorable.
 7       Q.     Okay.      And what about the market
 8   conditions are favorable, in your reference here
 9   when you say, "Currently favorable."                          What
10   conditions?
11       A.     The availability of financing.
12       Q.     Okay.
13       A.     The cost of financing.                     The overall
14   level of equity values.              Those are the general
15   conditions.
16       Q.     Okay.      And you said before that the
17   market is the Oncor stock, too.                     Were you
18   expressing to the Court an expert opinion that,
19   in your view, market conditions are currently
20   favorable for the sale of EFH
21   post-reorganization equity?
22       A.     Yes.
23       Q.     And what do you understand about the
24   market in the United States for
25   post-reorganization equity?

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14      Page 35 of 62


                                                                                    Page 267
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     Well, I'm referring to the sale of its
 3   interest in Oncor, and I believe conditions are
 4   favorable for the sale of its interest in Oncor.
 5       Q.     Okay.      So let's break that into
 6   pieces.   Do you have any basis for testifying
 7   that it's currently favorable to sell
 8   post-reorganization equity?
 9       A.     As a general class?
10       Q.     Yes.
11       A.     Post-reorganization equity?                         No.
12       Q.     So let's focus now on just the sale of
13   the Oncor estate.         What -- what is it about the
14   Oncor stake that makes it different than any
15   other company in the United States?
16       A.     Well, there are -- I mean, every
17   company is different, and there are certainly
18   companies, for example, who might be performing
19   poorly at this particular moment in time where
20   it would not be a good idea to sell the company.
21       Q.     Okay.
22       A.     Oncor is performing reasonably well,
23   it's forecast to continue to perform well, and
24   obviously, we have a large number of interested
25   strategic buyers for Oncor.                    So those are

                        TSG Reporting - Worldwide    877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14     Page 36 of 62


                                                                                    Page 268
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   matters specific to Oncor that support the
 3   belief that it's a good time to sell.
 4       Q.      Anything else?
 5       A.      No.
 6       Q.      So is it your testimony that any
 7   company, large cap or small cap, in the United
 8   States that is performing well and that has bids
 9   as a favorable market for selling itself?
10               MS. O'CONNOR:             Object to form.
11       A.      Again, you can't -- I wouldn't
12   generalize it to the degree that you have
13   generalized it.        I would say that it's a
14   function of not only how the company is
15   performing, but the perceived cycle within a
16   given industry.
17               So that there may be industries that
18   are cyclical and for whom now would not be a
19   terrific time to sell.
20       Q.      Okay.      So what did you do in the first
21   30 days of your involvement in this matter to
22   become an expert in the performance of Oncor?
23       A.      I reviewed Oncor's financials and
24   forecast.
25       Q.      Financials and forecast.                      When you say

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 37 of 62


                                                                                   Page 269
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   financials, what do you mean?
 3       A.     I mean the stock price, you know,
 4   other financial -- excuse me, not stock price.
 5   The forecast, really, and -- their balance sheet
 6   and their forecast.
 7       Q.     Okay.      Balance sheet and forecast.
 8   The stuff that's in the data room?
 9       A.     I didn't view it in the data room,
10   but...
11       Q.     Do you understand that --
12       A.     Yes.
13       Q.     -- you reviewed anything that's not in
14   the data room?
15              MS. O'CONNOR:             Object to form.
16       A.     I'm not aware that I reviewed anything
17   that's not in the data room.
18       Q.     And you didn't talk to any Oncor
19   employees about Oncor, right?
20       A.     No.
21       Q.     And other than looking at the
22   financials and the forecast, did you do anything
23   else to inform yourself as to Oncor's
24   performance?
25       A.     I read the teaser materials.

                        TSG Reporting - Worldwide   877-702-9580
            Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 38 of 62


                                                                                      Page 270
 1               CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.        And again, that -- those materials are
 3   obviously available to potential bidders as
 4   well?
 5       A.        Yes.
 6       Q.        And what did you do, if anything, in
 7   those first 30 days to determine whether or not
 8   the -- the reason why bidders were coming
 9   forward?
10       A.        Other than talking generally with Sesh
11   and based on commentary that NextEra made,
12   nothing particularly.
13       Q.        Do you understand how it was that
14   NextEra came forward?
15       A.        I'm not sure I understand what you
16   mean by that question.
17       Q.        Okay.      Do you know why NextEra made a
18   bid?
19       A.        I assume NextEra made a bid because
20   they thought that the restructuring support
21   agreement and the convertible feature in the DIP
22   valued the company at a low value, and they were
23   willing to pay more.
24       Q.        And what did you do to inform yourself
25   as to whether or not the price set in the

                           TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14      Page 39 of 62


                                                                                     Page 278
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   of your opinion?
 3       A.      Well, again, the high level of M&A
 4   activity.
 5       Q.      Okay.      Anything else?
 6       A.      No.
 7       Q.      All right.          And when you say these
 8   market conditions may continue.                      Do you see
 9   that?
10       A.      Uh-huh.
11       Q.      When you said "may," do you have a
12   view as to what a percentage likelihood?                             "May"
13   could mean might or it means shall.                            So,
14   somewhere in between, can you give me some color
15   on that?
16       A.      Yes, I would say the chances are that
17   market conditions two years from now are likely
18   to be modestly worse than they are today
19   primarily because of a rise in interest rates.
20       Q.      Okay.      Modestly worse.                 What do you
21   mean by "modestly"?
22       A.      I think we're going to have a higher
23   interest rate environment.
24       Q.      Okay.      I'm just trying to get -- okay.
25   So how would that translate, in your view, into

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14     Page 40 of 62


                                                                                    Page 279
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   a range of volatility for the Oncor stake?
 3       A.      Well, again, I haven't done that
 4   analysis, and I would say that, again, as I said
 5   earlier in my testimony, the importance here of
 6   the process and going forward now is to
 7   establish a floor.           The floor protects against
 8   an adverse change in market conditions, and the
 9   cost of exercising the fiduciary out in the
10   event that conditions get much better and the
11   value of Oncor goes way up is quite modest
12   relative to the total enterprise value.
13       Q.      You said you haven't done that
14   analysis.    Was there anything that prevented you
15   from performing a volatility analysis on the
16   Oncor stake?
17       A.      What do you mean by a "volatility
18   analysis"?
19       Q.      An analysis by which Evercore made
20   some sort of prediction with respect to the
21   expected potential rise or fall in the value of
22   the Oncor stake over a particular period.
23       A.      No.
24       Q.      Okay.      And there's nothing that
25   prevented you from doing that?

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 41 of 62


                                                                                   Page 280
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     That's not a form of analysis that we
 3   typically undertake.
 4       Q.     Okay.
 5       A.     I don't recall having seen that.
 6       Q.     Are you aware of any kind of analyses
 7   that would project the future volatility of an
 8   equity stake?
 9       A.     Well, I mean, yes, generally, if we
10   have multiple sets of projections that would
11   indicate a base case or a downside case
12   reflecting certain risks to the business, you
13   could perform that kind of analysis.
14       Q.     But you didn't do that here?
15       A.     No.
16       Q.     Did the company ask you to do that?
17       A.     No.
18       Q.     All right.          So do you have any sense,
19   when we talk about market risk, are we talking
20   about the possibility the Oncor stake could rise
21   or fall 5 percent, rise or fall 10 percent, rise
22   or fall 50 percent?          What kind of volatility are
23   you talking about in a utility stock?
24       A.     I think it's probably in the 10 to 20
25   percent area.

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 42 of 62


                                                                                   Page 281
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       Q.     So you would be concerned about a 10
 3   to 20 percent fall in the value of Oncor stock
 4   in the next 18 months?
 5       A.     Correct.
 6       Q.     And does that also imply that there
 7   could be a 10 to 20 percent rise in the value of
 8   Oncor stock?
 9       A.     Conceivably.
10       Q.     All right.          You say -- so let me get
11   to that.   You said "while these market
12   conditions may continue."                Is it also fair to
13   say while these market conditions may improve?
14       A.     I think it's less likely that market
15   conditions will improve from these levels.
16       Q.     All right.          So what's the percentage
17   likelihood that it's going up or down?
18       A.     I can't put a percentage on it.
19       Q.     Okay.      So somewhere over 50 percent
20   that it's going to worsen and somewhere nearing
21   50 percent that it's going to improve?
22              MS. O'CONNOR:             Object to form.
23       A.     Again, I think market conditions are,
24   by any historical standard, quite good right
25   now, and therefore, I would say there's a higher

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 43 of 62


                                                                                   Page 282
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   likelihood that market conditions are somewhat
 3   worse than somewhat better.
 4       Q.     Okay.      But you can't --
 5       A.     No.    And again, that's the importance
 6   of creating the floor value here.                       Creating the
 7   floor value protects you from the downside but
 8   doesn't materially take away your upside.
 9       Q.     Okay.      So let's -- I'm going to come
10   to that and talk about this -- this sale of
11   post-reorg. equity and how you're trying to fix
12   that problem, but let me focus a little more on
13   the Debtors.
14              Do you understand that the Debtors
15   here have to exercise their business judgment,
16   right?
17       A.     Uh-huh.
18       Q.     Did Mr. Keglevic or anybody else at
19   the Debtors ask you personally to opine on the
20   volatility of Oncor stock?
21              MS. O'CONNOR:             Object to form.
22       A.     Not the volatility per se.
23       Q.     Okay.      Did the -- did Mr. Keglevic or
24   anybody employed by the Debtors ask you to opine
25   on the range of potential rise and fall in Oncor

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14     Page 44 of 62


                                                                                    Page 283
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   stock over an 18- to 24-month horizon?
 3               MS. O'CONNOR:             Object to form.
 4       A.      No.
 5       Q.      Did anybody at the Debtors ask you to
 6   opine or provide your advice on the issue of
 7   whether or not it was an opportune moment to
 8   sell the Oncor stake?
 9               MS. O'CONNOR:             Object to form.
10       A.      Yes.
11       Q.      And who asked you?
12       A.      I can't remember specifically, but it
13   was a topic that was discussed amongst Paul,
14   David Ying, myself, perhaps Stacey as well.
15       Q.      And who asked it?
16       A.      I can't remember.
17       Q.      Okay.      And did you provide -- did
18   anyone at Evercore provide a written response to
19   that question?
20       A.      No.
21       Q.      Were you asked to provide a written
22   response?
23       A.      No.
24       Q.      And who answered on behalf of
25   Evercore?

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 45 of 62


                                                                                   Page 284
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     Well, I think at varying points of
 3   time, probably each of myself, David Ying and
 4   Sesh, and perhaps Roger Altman as well.
 5       Q.     Okay.      And what, since I have you
 6   here, what did you say?
 7       A.     I said the same thing that I've got in
 8   my declaration, that we thought the market
 9   conditions were attractive, that the
10   availability of credit was high, the cost of
11   credit was low, that utility stocks generally
12   had performed well and were at relatively high
13   levels of valuation, and we had a series of
14   interested bidders.
15       Q.     Okay.      Anything else?
16       A.     No.
17       Q.     Has Evercore done a valuation of the
18   Oncor stake?
19       A.     No.
20       Q.     Has Evercore done a valuation of
21   Oncor?
22       A.     Not yet, no.
23       Q.     Okay.      Is there anything that would
24   prevent Evercore from performing a valuation of
25   the Oncor stake?

                        TSG Reporting - Worldwide   877-702-9580
            Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 46 of 62


                                                                                      Page 285
 1               CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.        No.
 3       Q.        Anything to prevent Evercore from
 4   doing a valuation of Oncor?
 5       A.        No.
 6       Q.        Okay.      So when you say the market's
 7   attractive, I just want to focus on two theses.
 8                 One of theses is that the bid price in
 9   the -- in the RSA was substantially below market
10   and that it pulled buyers out from everywhere
11   who were willing to say, you know what?                             I'll
12   hit that bid all day long.                   And another thesis
13   is that somehow the market, since the RSA was
14   signed and the present, has improved radically.
15                 Do you have, first, a belief as to
16   which thesis is correct or that neither is?
17       A.        Well, I take premise -- take issue
18   with your premise.             The premise is that buyers
19   have come forward because of the price in the
20   RSA.     The only buyer that came forward before
21   the price in -- before -- based on the price in
22   the RSA was NextEra.
23       Q.        What's your basis for saying that?
24       A.        What's my basis for saying it?
25   Because all the other buyers have essentially

                           TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 47 of 62


                                                                                   Page 304
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2              Mr. Keglevic on a number of occasions
 3   talked about the Debtors going out and getting a
 4   one-way option.       Are you familiar with that,
 5   that goal here?
 6       A.     Well, I think what he's referring to
 7   is similar to the establishment of a floor, has
 8   been the term that I've been using.
 9       Q.     Okay.      And that floor is pursuant to a
10   contract, right?
11       A.     Correct.
12       Q.     All right.          And that contract would be
13   for the purchase of EFH post-reorganization
14   equity?
15       A.     Correct.
16       Q.     And the idea is that what you want in
17   that contract is the ability to put that equity
18   to the buyer, right?
19       A.     Correct.
20       Q.     Within the next 18 months?
21       A.     Within 12 to 18 months.
22       Q.     Right, 12 to 18.
23              And as Mr. Keglevic was talking about,
24   it sounded to me like he was saying you want the
25   ability to put it to them, hell or high water;

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 48 of 62


                                                                                   Page 307
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   is what's the penalty if you don't close.
 3              I take it the Debtors, from Mr.
 4   Keglevic's testimony, that the Debtors would
 5   prefer a structure in which there was no
 6   limitation on liability such that --
 7       A.     Correct.
 8       Q.     -- if they chose not to close, that
 9   their whole balance sheet would be on the line?
10              MS. O'CONNOR:             Object to form.
11       A.     Correct.
12       Q.     Okay.      And that's the belief -- that
13   is the Debtors' hope in going out to the market
14   right now?
15       A.     We would look for a contract with
16   specific performance as opposed to a liquidated
17   damages provision.
18       Q.     Okay.      And what's your understanding
19   with respect to the availability of a specific
20   performance remedy in a merger agreement?
21       A.     In many merger agreements we have
22   specific performance.            Liquidated damages is a
23   little more common when we're dealing with
24   financial buyers.
25       Q.     And when specific performance, do you

                        TSG Reporting - Worldwide   877-702-9580
            Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 49 of 62


                                                                                      Page 308
 1               CONFIDENTIAL - WILLIAM O. HILTZ
 2   mean a unilateral specific performance or a
 3   bilateral specific performance?
 4       A.        I think of it only in the context of
 5   when I'm representing the seller.
 6       Q.        Well, have you -- have you seen any
 7   instance in which a merger agreement outside of
 8   bankruptcy had a provision which forced the
 9   buyer to take hell or high water but permitted
10   the seller to get out for a liquidated damage
11   sum?
12       A.        Well, yes.          I mean, quite frequently,
13   in fact, in virtually all merger contracts, you
14   have a fiduciary out, and that's the importance
15   here.     We would expect to have a fiduciary out
16   that would allow us to terminate the contract
17   for the payment of a termination fee.
18       Q.        Okay.      And do you have any basis for
19   opining with respect to the availability of a
20   specific performance remedy in a -- in the sale
21   of an asset by a Debtor?
22       A.        No.
23       Q.        And are you aware of any of the
24   litigation that's gone on in the last ten years
25   with respect to specific performance remedies

                           TSG Reporting - Worldwide   877-702-9580
            Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 50 of 62


                                                                                      Page 308
 1               CONFIDENTIAL - WILLIAM O. HILTZ
 2   mean a unilateral specific performance or a
 3   bilateral specific performance?
 4       A.        I think of it only in the context of
 5   when I'm representing the seller.
 6       Q.        Well, have you -- have you seen any
 7   instance in which a merger agreement outside of
 8   bankruptcy had a provision which forced the
 9   buyer to take hell or high water but permitted
10   the seller to get out for a liquidated damage
11   sum?
12       A.        Well, yes.          I mean, quite frequently,
13   in fact, in virtually all merger contracts, you
14   have a fiduciary out, and that's the importance
15   here.     We would expect to have a fiduciary out
16   that would allow us to terminate the contract
17   for the payment of a termination fee.
18       Q.        Okay.      And do you have any basis for
19   opining with respect to the availability of a
20   specific performance remedy in a -- in the sale
21   of an asset by a Debtor?
22       A.        No.
23       Q.        And are you aware of any of the
24   litigation that's gone on in the last ten years
25   with respect to specific performance remedies

                           TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 51 of 62


                                                                                   Page 311
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     Correct.
 3       Q.     Okay.      So what have you done
 4   personally to determine whether or not that
 5   product exists in bankruptcy?
 6       A.     Whether it exists in bankruptcy, I
 7   haven't done anything.
 8       Q.     I take it you have no basis to opine
 9   that such a product exists, that is, that you
10   are not out selling a unicorn, but you're
11   actually selling an actual asset?
12       A.     Well, again, outside of bankruptcy,
13   everything I've described there is quite
14   typical.
15       Q.     So let's understand what the effect --
16   I take it that, and when I talked with Mr.
17   Keglevic about this, that depending upon the
18   various terms of the put/call option, you're
19   going to have an impact; each term is going to
20   impact the other terms, right?
21       A.     Yes.
22       Q.     In other words, so if you -- if you
23   gave the buyers a bilateral $200 million walk
24   right, they might be willing to pay more for the
25   asset?

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14     Page 52 of 62


                                                                                    Page 316
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   Bankruptcy Court risk over an 18-month period?
 3       A.      No.
 4               MS. O'CONNOR:             Object to form.
 5       Q.      And I take it that the reason you are
 6   selling -- well, let me ask you this then.
 7   Other than the possibility of Oncor volatility,
 8   the 10 percent, the 20 percent drop --
 9       A.      Uh-huh.
10       Q.      -- why are the Debtors selling now?
11       A.      Why are the Debtors selling now?
12       Q.      Yes.
13       A.      To establish a floor.
14       Q.      So what?
15       A.      What do you mean, so what?
16       Q.      Why -- why would the Debtors need to
17   establish a floor?
18       A.      Why wouldn't they want to establish a
19   floor?
20       Q.      Okay.      Every Debtor owns assets.                      Are
21   you saying that no other Debtors' assets are
22   volatile?
23       A.      No, I'm not saying that.
24       Q.      Okay.      So if every Debtor owns assets
25   that have a certain amount of volatility in

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 53 of 62


                                                                                   Page 320
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2       A.     Well, but you're only going to do that
 3   to the extent that values have risen more than
 4   $150 million.
 5       Q.     I understand.             I understand.
 6       A.     So 150 million bucks is the cost of
 7   ensuring your downside.
 8       Q.     Right.
 9       A.     And it's a cost that you only realize
10   in the event that values go way up, and in fact,
11   if values go down, there's no cost to ensuring
12   your out, your downside.
13       Q.     Well, except for this process?
14       A.     Well, yeah.
15       Q.     And you; we have to pay you your fee
16   as well.
17              Right, I get it.               That's a good way of
18   putting it.    You're buying an insurance policy,
19   spending $150 million of estate assets,
20   potentially, to protect from the possibility
21   that the Oncor stake actually does the other
22   thing, which is drop 10 to 20 percent?
23       A.     Correct.
24       Q.     Okay.      Just --
25       A.     And you're not spending that 150 if in

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 54 of 62


                                                                                  Page 323
 1             CONFIDENTIAL - WILLIAM O. HILTZ
 2   that point in time.
 3       Q.     Well, do you understand whether the
 4   Debtors in filing their motion submitted any
 5   other declaration?
 6              MS. O'CONNOR:            Object to form.
 7       Q.     No?
 8       A.     I'm not sure.
 9       Q.     Anybody else who's gone on the record
10   opining with respect to the risk of market
11   moves?
12       A.     Not that I'm aware of.
13       Q.     Are you aware of the Debtors making
14   available to any of the creditors any of the
15   statistics around that would support your view
16   of market conditions?
17       A.     No.
18       Q.     Anything from which the creditors
19   could form their own opinion with respect to the
20   possibility that the value of the Oncor stake
21   could go down or up 20 percent over the 18-month
22   period?
23       A.     No.
24              MS. O'CONNOR:            Object to form.
25       Q.     Now, let's clear up something that Mr.

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 55 of 62


                                                                                   Page 324
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   Keglevic testified.          Let's assume you can't get
 3   an asymmetrical damages provision, that is,
 4   where you get specific performance but the buyer
 5   has a -- faces a fiduciary out.                     Let's assume
 6   that what you get is a bilateral break fee.                            You
 7   walk, you pay this; we walk, we pay that.                           Okay,
 8   do you understand that?
 9       A.     Well, I understand the situation
10   you're positing.        That would be most unusual,
11   and I doubt we would be prepared to go forward
12   on that basis.
13       Q.     Okay.      I just want to clear that up.
14   Can you imagine any situation in which the
15   Debtors can fix their problem, the 10 to 20
16   percent volatility in the stock, without a
17   specific performance provision?
18       A.     Well, yes, you could do it with a
19   liquidated damages provision.
20       Q.     Of how much?
21       A.     It just has to be, you know, generally
22   three to five times the normal break fee.
23       Q.     And so that's what I'm saying.                         Do you
24   have any reason to believe that anybody is going
25   to come forward with a liquidated damage

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS     Doc 2389-11       Filed 10/10/14     Page 56 of 62


                                                                                    Page 327
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   period --
 3       A.      12 to 18 months.
 4       Q.      -- 12- to 18-month period with the
 5   possibility that any time over that 18-month
 6   period the Debtors can walk for no penalty at
 7   all if they don't get a plan done?
 8       A.      Correct.
 9       Q.      Okay.      And have you spoken to any
10   bidder, without identifying them by name, where
11   that bidder has said they're willing to do that
12   transaction?
13       A.      I believe there are two bidders that
14   are willing to do that transaction in some form.
15       Q.      What do you mean by "in some form"?
16       A.      Well, there hasn't been a final
17   negotiation of those items yet, but that's
18   certainly what they're expecting.                        And the other
19   thing I would point out is that, you know,
20   utilities outside of bankruptcy do this all the
21   time.    There are many examples of utility
22   transactions that are going to take a comparable
23   amount of time to close.                I'll grant you there's
24   the additional element of risk of needing a plan
25   confirmation here, but there are many, many

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 57 of 62


                                                                                  Page 328
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   utility transactions that sit out there for 18
 3   months with exactly -- with a fiduciary out and
 4   with exactly the kind of termination fees that
 5   we're talking about here.
 6       Q.     Right.       But in each of those cases, a
 7   sophisticated utility buyer can go to its own
 8   counsel and ask what's the likelihood that the
 9   PUC is going to turn this down, what's the
10   likelihood that FERC is not going to approve
11   this, right?
12       A.     Correct.
13       Q.     And the only ones that you know that
14   sit out there for 18 months have to do with
15   regulatory conditions that haven't been met,
16   right?
17       A.     Correct.
18       Q.     No one gets to sign up for the
19   transaction given 18 months to put their
20   financing together, for example?
21       A.     That's correct.
22       Q.     All right.         So, just so I understand
23   it, and maybe it was asked, if someone comes
24   forward and says what's the likelihood that TCEH
25   won't be able to get a plan done, you can't

                       TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 58 of 62


                                                                                   Page 329
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   answer that question, right?
 3       A.     I can't, no.
 4       Q.     So who do you send them to?
 5       A.     Again, to Kirkland & Ellis, to David
 6   Ying, our restructuring advisor, to people at
 7   the company.
 8       Q.     Okay.      And do you have -- you haven't
 9   asked, but do you have any reason to believe
10   that they're going to give you a percentage
11   likelihood between zero and 100 percent that
12   you're going to be able to get a TCEH plan done
13   in that period?
14       A.     Well, I don't know that they will give
15   me a percentage likelihood, but, you know,
16   obviously, again, we have got a relatively large
17   number of buyers who understand the
18   circumstances that we are in, understand that
19   the transaction is dependent upon a successful
20   plan of reorganization, and who are spending
21   time and money in the data room as we speak.
22       Q.     Do you understand that their
23   willingness to pay a certain price for the asset
24   could be affected by their own view of the
25   likelihood that the deal will close?

                        TSG Reporting - Worldwide   877-702-9580
           Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 59 of 62


                                                                                    Page 332
 1              CONFIDENTIAL - WILLIAM O. HILTZ
 2         A.     It's possible, but again, it's not
 3   apparent to me, and again, the whole purpose of
 4   conducting the stalking horse process, as we are
 5   suggesting, is to create a competitive process
 6   and to minimize -- to find a buyer who is going
 7   to minimize that element.
 8         Q.     Yes, but that's a competitive process
 9   for an asset which currently has an overhang on
10   it with respect to plan visibility?
11         A.     Correct.
12         Q.     Right?       It's the same as selling a
13   company before a litigation is resolved and
14   after a litigation is resolved, right?
15                MS. O'CONNOR:            Object to form.
16         A.     Yes.
17         Q.     And sometimes people pay less for the
18   asset when they don't know what's going to
19   happen in the litigation if the litigation is
20   against the company?
21         A.     And sometimes people who have a view
22   on the outcome of that litigation use that as an
23   opportunity to buy the asset.
24         Q.     Right.       So that's where I'm getting
25   to.    What, what have the Debtors been doing to

                         TSG Reporting - Worldwide   877-702-9580
           Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 60 of 62


                                                                                    Page 350
 1              CONFIDENTIAL - WILLIAM O. HILTZ
 2   EFIH.
 3         Q.     And if the independent directors of
 4   the T side disagree with the additional factors
 5   the Debtors are using to examine -- to use the
 6   bid criteria, what can that independent director
 7   do?
 8         A.     He can vote against the transaction.
 9         Q.     Other than that, does he have any
10   other authority to stop the transaction?
11         A.     Not that I'm aware of.
12         Q.     So let's turn to, again, to the Bid
13   Procedures section, pages 8 of 24.                        Actually,
14   let's go to -- let me take you to a different
15   page, to 13 of 24, which is the Stalking Horse
16   Bidding Process.
17                By the way, Mr. Hiltz, have the
18   Debtors received any stalking horse bids at this
19   point in time?
20         A.     We have received indications, yes.
21         Q.     But has there been a bid submitted in
22   final form as a stalking horse bid?
23         A.     No.
24         Q.     And assuming the court grants this
25   motion and approves the bidding procedures on

                         TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS    Doc 2389-11       Filed 10/10/14     Page 61 of 62


                                                                                   Page 355
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   there has been a reluctance of utilities to
 3   trump other deals.          There is a relatively small
 4   number of circumstances where that has happened.
 5              So I don't think Lazard's concerns are
 6   completely ill-founded.              I don't feel quite as
 7   strongly as Lazard does.               I think there are some
 8   people who would be willing to play in an open
 9   auction, for instance, NextEra, but I can't say
10   that we would have as many people in an open
11   auction as we would in a closed stalking horse
12   process.   And that's part of the reason for
13   having a longer and more formalized stalking
14   horse process, is to maximize the number of
15   participants.
16       Q.     Okay.      Mr. Hiltz, have you met with
17   the board of directors at EFH to describe the
18   bid procedures process?
19       A.     Telephonically, yes.
20       Q.     And how many times have you done that?
21       A.     I want to say twice.
22       Q.     Do you remember the dates on which you
23   had that telephonic meeting?
24       A.     No, I don't.            I don't.
25       Q.     And were both those meetings prior to

                        TSG Reporting - Worldwide   877-702-9580
         Case 14-10979-CSS   Doc 2389-11       Filed 10/10/14     Page 62 of 62


                                                                                  Page 356
 1            CONFIDENTIAL - WILLIAM O. HILTZ
 2   the date for filing this motion on September 19?
 3       A.     Yes.
 4       Q.     And did Evercore provide the board
 5   with any written materials about the bidding
 6   process as part of those board meetings?
 7       A.     Only a timeline.
 8       Q.     And who prepared that timeline?
 9       A.     I can't recall who actually physically
10   prepared it.     It was included as a page within
11   their board books.
12       Q.     And what was discussed about the
13   bidding process during those board meetings?
14       A.     Basically, just Evercore went through
15   our rationale for creating the process that we
16   did, and there was discussion around the
17   specific dates and what was an appropriate
18   balance between giving bidders enough time to
19   submit their bids while at the same time not
20   exposing ourselves to a long -- an elongated
21   period of market risk.
22       Q.     Did the board object to the process
23   described by Evercore, proposed by Evercore?
24       A.     No.    There were questions about it and
25   some discussion, but no, there was no, quote,

                       TSG Reporting - Worldwide   877-702-9580
